         Case 5:08-cv-00868-RMW Document 621 Filed 10/02/17 Page 1 of 2



1    Joseph N. Kravec, Jr. (pro hac vice)                     Raymond J. Farrow (pro hac vice)
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5

6    CO-LEAD TRIAL COUNSEL AND
     SETTLEMENT CLASS COUNSEL
7
     *Additional Plaintiff’s Counsel
8    on signature page
9                               IN THE UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11                                            SAN JOSE DIVISION

12

13   FELTON A. SPEARS, JR. and SIDNEY ) Case No. 5-08-CV-00868 (RMW)
     SCHOLL, on behalf of themselves and all others )
14   similarly situated,                            ) [PROPOSED] ORDER APPROVING
                                                    ) MOTION TO APPROVE CY PRES
15                             Plaintiffs,          ) DISTRIBUTION OF RESIDUAL FUNDS
                                                    ) AND APPROVAL OF PAYMENT FOR
16           vs.                                    ) DISTRIBUTION COSTS
                                                          )
17   FIRST AMERICAN EAPPRAISEIT                           )
     (a/k/a eAppraiseIT, LLC),                            )   Honorable Beth Labson Freeman
18   a Delaware limited liability company,                )
                                                          )   Date: October 19, 2017
19                                   Defendant.           )   Time: 9:00 a.m.
                                                          )   Courtroom: 3, 5th Floor
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     [PROPOSED] OPRDER Approving Motion to Approve Cy Pres Distribution of Residual Funds and Approval of
     Payment for Distribution Costs; Case No. 5-08-CV-00868 (BLF)
         Case 5:08-cv-00868-RMW Document 621 Filed 10/02/17 Page 2 of 2



1           The Court, having considered Plaintiff’s MOTION TO APPROVE CY PRES

2    DISTRIBUTION OF RESIDUAL FUNDS AND APPROVAL OF PAYMENT FOR

3    DISTRIBUTION COSTS including all accompanying materials, declarations and all responses

4    thereto,

5           ORDERS that the Motion is GRANTED.

6           (1) Payment shall be made from the remaining residual funds in the amount $7,708.21 to

7    Rust Consulting for certain unexpected costs of undertaking the distribution of funds from the

8    settlement.

9           (2) The remaining amount, of unclaimed residual funds, equal to $141,331.57, shall be

10   distributed to the following cy pres recipients, which the Court has determined represent interests

11   closely approximate those of the class, in the proportions stated:

12          1.                                        $47,110.53 of the remaining funds)
                    The National Consumer Law Center (__________

13          2.      Public Citizen (_________of
                                    $47,110.52 the remaining funds)

14          3.      The Center for Responsible Lending (_________
                                                        $47,110.52 of the remaining funds)

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16   Dated :___________________,
                October 2        2017

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19                                                          _____________________________________
                                                                  BETH LABSON FREEMAN
20                                                                United States District Judge
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     [PROPOSED] OPRDER Approving Motion to Approve Cy Pres Distribution of Residual Funds and Approval of
     Payment for Distribution Costs; Case No. 5-08-CV-00868 (BLF)
